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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


CITIZENS BANK,                              )       CAUSE NO. 1:04-CV-0079 SEB-VSS
                             Plaintiff,     )
              vs.                           )
                                            )
GRAY BROTHERS CAFETERIA OF                  )
BLOOMINGTON, INC.; CHRISTINA L.             )
GRAY MILLER,, MICHAEL L.                    )
GRAY, THERESA A NUSBAUM,                    )
and UNITED STATES                           )
SMALL BUSINESS                              )
ADMINISTRATION,                             )
                                            )
                  Defendants.               )
************************************
UNITED STATES OF                     )
AMERICA,                             )
                                     )
                  Intervenor,        )
                                     )
            vs.                      )
                                     )
GRAY BROTHERS CAFETERIA OF           )
BLOOMINGTON, INC.; CHRISTINA         )
L. GRAY MILLER; MICHAEL L.           )
GRAY; THERESA A NUSBAUM;             )
AND CITIZENS BANK,                   )
                                     )
                  Defendants.        )



                                 AGREED JUDGMENT
                            AND DECREE OF FORECLOSURE

       Come now the plaintiffs, Citizens Bank, by counsel Paul D. Ludwig, and the United

States of America, Small Business Administration (“SBA”), by Susan W. Brooks, United States

Attorney for the Southern District of Indiana, by Sue Hendricks Bailey, Assistant United States

Attorney, and move for agreed judgment between them and for a decree of foreclosure,
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foreclosing the interest in certain shares of stock pledged as collateral for Citizens Bank and the

United States of America.

        Citizens Bank, having filed its Declaration showing that there is now due and owing to it

as set forth in the Complaint, on the promissory note dated August 14, 2003 in the original

principal sum of $850,309, the sum of $378,430.89 as of August 16, 2005, with interest accruing

at the rate of $60.11 per day thereafter until date of judgment and on the promissory note dated

May 23, 2003 in the original principal amount of $105,747.00, the sum of $ 102,531.34 as of

August 16, 2005, with interest accruing at the rate of $12.40 per day thereafter until date of

judgment.

       And the United States of America, having filed its Declaration showing that there is now

due and owing to it as set forth in the Intervenor’s Complaint the sum of $746,349.57 as of

November 2, 2005, with interest accruing at the rate of $77.90 per day thereafter until the date of

judgment; and that the other named defendants, Christina Gray Miller, Michael L. Gray, Theresa

A. Nusbaum and Gray Brothers Cafeteria of Bloomington, Inc., have received discharge of their

liabilities pursuant to Chapter 7 of the United States Bankruptcy Code and any interest in the

shares of stock referenced below have been abandoned by said parties and their respective

bankruptcy estates; and

       The Court now FINDS the following:

       1.      There is now due Citizens Bank on a promissory note from now discharged

               defendant Gray Brothers Cafeteria of Bloomington, Inc. (hereinafter referred to as

               Gray Brothers of Bloomington) per its promissory note dated August 14, 2003 in

               the original principal amount of $850,309.00 the sum of $378,430.89 as of August
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            16, 2005. Interest continues to accrue on the principal amount due at a rate of

            $60.11 per diem.

      2.    Gray Brothers of Bloomington filed for protection under 11 U.S.C. Chapter 7

            under Case NO. 03-22204-AJM-7, United States Bankruptcy Court for the

            Southern District of Indiana, Indianapolis Division. The bankruptcy case has been

            closed. No personal judgment is sought against this defendant.

      3.    Christina Gray Miller, Michael L. Gray, and Theresa A. Nusbaum issued their

            secured guarantys of the promissory note dated August 14, 2003 as referenced

            above.

      4.    To secure their guaranties, Michael L. Gray, Christina Gray Miller and Theresa A.

            Nusbaum each pledged 836.72 shares of Stock in Gray Brothers, Inc., a

            corporation not a party hereto, for a total of 2510.16 shares of stock in Gray

            Brothers, Inc. which was pledged. Citizens Bank is entitled to a decree of

            foreclosure of these stock certificates.

      5.    Michael L. Gray was discharged under Title 11 U.S.C. Chapter 7 under Case NO.

            04-04529 filed in the United States Bankruptcy Court for the Southern District of

            Indiana, Indianapolis Division on September 21, 2004. Christina Gray Miller was

            discharged under Title 11 U.S.C. Chapter 7 under Case No. 03-72272BHL-7 filed

            in the United States Bankruptcy Court for the Southern District of Indiana,

            Indianapolis Division, on February 19, 2004. Theresa A. Nusbaum was

            discharged under Title 11 U.S.C. Chapter 7 under Case No. 03-23633-AJM-7

            filed in the United States Bankruptcy Court for the Southern District of Indiana,

            Indianapolis Division, on April 7,2004. No personal judgment is sought against
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            these defendants. Each of their bankruptcy estates has abandoned any claim to

            the shares of stock reference above.

      6.    There is now due the United States of America on the promissory note dated

            August 15, 2003 from discharged defendant Gray Brothers of Bloomington the

            sum of $746,349.57 as of November 2, 2005 and accruing interest thereafter to

            date of judgment at the rate of $77.90 per diem. The United States of America

            does not seek personal judgment against Gray Brothers of Bloomington on

            account of its bankruptcy filing as referenced above.

      7.    There is now due the United States of America on the secured guaranties of

            discharged defendants Michael L. Gray, Christina Gray Miller, and Theresa A.

            Nusbaum, the sum of $746,349.57 as of November 2, 2005 and accruing interest

            thereafter to date of judgment at the rate of $77.90 per diem. The United States of

            America does not seek personal judgment against Michael L. Gray, Christina

            Gray Miller, and Theresa A. Nusbaum on account of their discharges in

            bankruptcy as referenced above.

      8.    The United States of America is entitled to judgment of foreclosure against the

            pledged stock interest of Michael L. Gray, Christina Gray Miller, and Theresa A.

            Nusbaum.

      9.    There is now due Citizens Bank on a promissory note from the now discharged

            Gray Brothers of Bloomington dated May 23, 2003 in the original principal

            amount of $105,747.00 the sum of $102,531.34 as of August 16,2005. Interest

            continues to accrue on the principal amount due at a rate of $12.40 per diem, plus
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            attorneys’ fees incurred herein of Fourteen Thousand Five Hundred Dollars

            ($14,500.00).

      10.   Michael L. Gray, Christina Gray Miller, and Theresa A. Nusbaum issued their

            secured guaranties of the May 23, 2003 note.

      11.   To secure their guaranties, Michael L. Gray,, Christina Gray Miller and Theresa

            A. Nusbaum each pledged 836.72 shares of stock in Gray Brothers, Inc., a

            corporation not a party hereto, for a total of 2510.16 shares of stock in Gray

            Brothers, Inc., which was pledged, which are the same shares of stock referenced

            in paragraph 4 and 8 above. Citizens Bank is entitled to a decree of foreclosure of

            these stock certificates.

IT IS THEREFORE ORDERED, ADJUDGED AND DECREED by the Court:

      1.    That Citizens Bank be granted an in rem judgment against the pledged stock

            interest of Michael L. Gray, Christina Gray Miller, and Theresa A. Nusbaum on

            their secured guaranties securing the August 14,2003 note in an amount of

            $378,430.89 as of August 16, 2005, and continuing to accrue interest at a rate of

            $60.11 per diem.

      2.    That the United States of America be granted an in rem judgment against the

            pledged stock interest of Michael L. Gray, Christina Miller Gray, and Theresa A.

            Nusbaum on their secured guaranties securing the August 15, 2003 note in an

            amount of $746,349.57 as of November 2, 2005, which continues to accrue

            interest to date of judgment at the rate of $77.90 per diem or 4.125% interest per

            annum
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      3.    That Citizens Bank have and recover against the pledged stock interest of

            Michael L. Gray, Christina Miller Gray, and Theresa A. Nusbaum on the May 23,

            2003 note an in rem judgment in the sum of $102,531.34 as of August 11, 2005,

            which continues to accrue interest to date of judgment at the rate of $12.40 per

            diem, plus attorney’s fees of Fourteen Thousand Five Hundred Dollars

            ($14,500.00)

      4.    That the 2,510.16 shares of stock in Gray Brothers, Inc. which were pledged as

            collateral for these three loans by Michael L. Gray, Christina Miller Gray, and

            Theresa A. Nusbaum be foreclosed. The equity of redemption, and any and all

            right, title, interest, and claim of said persons, and of all persons claiming by,

            through, or under them in and to the stock certificates, be and the same is hereby

            forever barred and foreclosed. Said stock certificates, and all right, title, interest

            and claim of said defendants and of all persons claiming by, through or under

            them in and to the same, be sold by the United States Marshal for the Southern

            District of Indiana, in accordance with the laws governing judicial sales, without

            relief from valuation and appraisement laws.

      5.    That the proceeds from the sale of the stock certificate be applied to the May 23,

            2003 and August 14, 2003 loans by Citizens Bank and to the United States loan as

            the Court shall determine upon resolution of their respective interests in further

            proceedings herein.

      6.    That in the event they bid at said sale, Citizens Bank and the United States shall

            jointly bid at sale and become joint purchasers at such sale of the foreclosed

            property and make payment therefor with such part of their judgments which were
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              secured by said stock agreements. Their respective interests in said stock

              thereafter shall then be determined per paragraph 5, above.



It is so ORDERED.


         11/10/2005                                    _______________________________
Dated: _____________________                ________________________________________
                                                        SARAH EVANS BARKER, JUDGE
                                            Judge, SarahUnited
                                                         Evans     Barker
                                                               States District Court
                                                        Southern District of Indiana
                                            United States District Court
                                            Southern District of Indiana
                                            Indianapolis Division


The following consent to the foregoing judgment entry and decree of foreclosure:


/s/ Paul Ludwig by Sue Hendricks Bailey
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